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17   CONSTELLATION BRANDS, INC.
18                               IN THE UNITED STATES DISTRICT COURT
19
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
20
     JOSE CARABEZ, an individual,                             Case No.: 2:16-CV-01294-JAM-CKD
21
             Plaintiff,                                            ORDER GRANTING LEAVE TO
22
                                                                   FILE AMENDED CLASS ACTION
23   vs.                                                           AND INDIVIDUAL COMPLAINT

24   CONSTELLATION BRANDS, INC.; and
     DOES 1-100, inclusive,
25
             Defendants.
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     [Proposed] Order Granting Plaintiff Leave to File Class Action Complaint
     Page 1 of 2
            Case 2:16-cv-01294-JAM-DB Document 11 Filed 08/12/16 Page 2 of 2

 1                                                       ORDER

 2           The Parties’ Stipulation is approved.
 3           IT IS HEREBY ORDERED that
 4           1.       Plaintiff Jose Carabez (“Plaintiff”) shall have leave to file the attached Amended
 5                    Class Action and Individual Complaint in the above-captioned matter;
 6           2.       Upon the granting of this Order, the Clerk of the Court shall accept and file the
 7                    attached Amended Class Action and Individual Complaint;
 8           3.       Plaintiff shall have 10 days from the date of entry of this Order to serve the
 9                    Amended Class Action and Individual Complaint upon Defendant Constellation
10                    Brands, Inc. (“Defendant”); and
11           4.       Unless Defendant chooses to file an alternative responsive pleading within thirty
12                    days from the date of service of the Amended Class Action and Individual
13                    Complaint, Defendant’s Answer to Plaintiff’s Second Amended Complaint shall
14                    serve as Defendant’s responsive pleading to the Amended Class Action and
15                    Individual Complaint.
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     DATED: 8/11/2016
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                                                            /s/ John A. Mendez     ____
20                                                          U. S. DISTRICT COURT JUDGE
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     [Proposed] Order Granting Plaintiff Leave to File Class Action Complaint
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